                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                      Plaintiff,                   )
                                                   )
vs.                                                )       Case No. 14-00166-25-CR-W-GAF
                                                   )
JOSE GABRIEL BERNARDO-VASQUEZ,                     )
                                                   )
                      Defendant.                   )

                                               ORDER

       On January 22, 2016, defendant entered a plea of guilty to Count One of the Information filed

January 22, 2016, before Chief United States Magistrate Judge Sarah W. Hays. On January 27, 2016,

Judge Hays issued her Report and Recommendation (Doc. 405). Objections were due on or before

February 16, 2016. No objections were filed.

       Upon careful and independent review, this Court finds that defendant’s plea was knowledgeable

and voluntary and that the offense charged is supported by an independent basis in fact containing each

of the essential elements of such offense. Accordingly, this Court hereby adopts and incorporates as its

own Opinion and Order the Report and Recommendation of Chief United States Magistrate Judge Sarah

W. Hays.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and defendant is

adjudged guilty. The defendant’s sentencing hearing will be scheduled and the parties notified of the

date and time of sentencing.




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      SO ORDERED.

                                         s/ Gary A. Fenner
                                         GARY A. FENNER, JUDGE
                                         UNITED STATES DISTRICT COURT

DATED: February 18, 2016




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